                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION

 CENTER FOR BIOLOGICAL                               CV 21–144–M–DWM
 DIVERSITY,

                      Plaintiff,
                                                            ORDER
 vs.

 U.S. FISH & WILDLIFE SERVICE,
 MARTHA WILLIAMS, in her official
 capacity as Principal Director of the
 U.S. Fish & Wildlife Service;
 DEPARTMENT OF THE INTERIOR;
 DEB HAALAND, in her official
 capacity as Secretary of the Interior,

                       Defendants.


       Pursuant to Federal Rules of Civil Procedure 16(b) and 26(f) and Local

Rules 16.1, 16.2, & 26.1,

       IT IS ORDERED:

       1. Responsibility of Plaintiffs’ Counsel. This Order is issued at the outset

of the case, and a copy is delivered by the Clerk of Court to counsel for the

plaintiffs. The plaintiffs’ counsel is directed to serve a copy of this Order to each

other party within ten (10) days after receiving notice of that party’s appearance.

The plaintiffs’ case may be dismissed without prejudice if the plaintiffs fail to

serve opposing counsel with this Order.

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      2. Preliminary Pretrial Statement. Counsel for the respective parties shall

file and serve on all parties a written preliminary pretrial statement on or before

February 14, 2022. The statement shall address all matters listed in L.R.

16.2(b)(1).

      3. Rule 26(f) Conference and Case Management Plan. The parties shall

file a proposed case management plan on or before February 28, 2022. The parties

shall e-mail a copy of the proposed case management plan in Word format to

dwm_propord@mtd.uscourts.gov. Lead trial counsel for the respective parties

shall, at least two weeks before the proposed case management plan is due, meet to

discuss the nature and basis of their claims and defenses, to develop the proposed

case management plan, and to discuss the possibilities for a prompt settlement or

resolution of the case. See Fed. R. Civ. P. 1. The case management plan resulting

from the Rule 26(f) conference is not subject to revision, absent compelling

reasons.

      4. Contents of Case Management Plan. The proposed case management

plan should contain deadlines for the following pretrial motions and events or

should state that such deadlines are not necessary:

      Motions to Dismiss (fully briefed)
      Certification of Administrative Record
      Motions to Supplement the Administrative Record
      Motions to Amend the Pleadings
      Completion of Discovery
      Motions for Summary Judgment (fully briefed)
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      Additional Deadlines Agreed to by the Parties

“Fully briefed” means that the motion, the brief in support of the motion, and the

opposing party’s response brief are filed with the Court by the deadline. A party

seeking to amend the pleadings after the date specified above must show “good

cause” for amendment under Federal Rule of Civil Procedure 16(b)(4). Only when

that showing has been made will the Court consider whether amendment is proper

under Federal Rule of Civil Procedure 15.

      5. Representation at Rule 26(f) Conference. Each party to the case must

be represented at the Rule 26(f) conference by at least one person with authority to

enter into stipulations.

      6. Stipulation to Foundation and Authenticity. Pursuant to Rule

16(c)(3), the parties shall either:

       (a)    enter into the following stipulation:

       The parties stipulate as to foundation and authenticity for all written
       documents produced in pre-trial disclosure and during the course of
       discovery. However, if receiving counsel objects to either the
       foundation or the authenticity of a particular document, then receiving
       counsel must make specific objections to producing counsel in writing
       within a reasonable time after receiving the document. A “reasonable”
       time means that producing counsel has sufficient time to lay the
       foundation or establish authenticity through depositions or other
       discovery. If the producing party objects to a document’s foundation
       or authenticity, the producing party shall so state, in writing, at the time
       of production, in sufficient time for receiving counsel to lay the
       foundation or establish authenticity through depositions or other
       discovery. All other objections are reserved.

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      or

      (b) state why a stipulation to authenticity and foundation is not
      appropriate for the case.

      7. Administrative Record. If an administrative record is involved, it must

be filed on CDs or a thumb drive in an indexed and searchable format. The

government shall provide the plaintiffs with the administrative record on or before

the administrative record filing deadline set out in ¶ 4, supra. The government

must also file with the Court a single hard copy of the following documents (along

with any attachments or appendices), to the extent any such documents are at issue

in the case:

      Final Environmental Impact Statement/Environmental Assessment
      Supp. Environmental Impact Statement/Environmental Assessment
      Record of Decision or Decision Notice
      Forest Plan or other programmatic planning document
      Biological Assessment
      Biological Opinion
      Finding of No Significant Impact
      Final Listing/Delisting Rule

      8. Acronyms. In all documents filed with the Court, the parties shall not

use any acronyms except for the following commonly understood acronyms in

record review cases: NEPA, NFMA, APA, ESA, EIS, and EA.

      DATED this 29th day of November, 2021.


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                                      Donald W. Molloy, District Judge
                                      United States District Court
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